Case 24-12445   Doc 24-3   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Index
                                   Page 1 of 4




                              EXHIBIT 3
Case 24-12445   Doc 24-3   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Index
                                   Page 2 of 4
Case 24-12445   Doc 24-3   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Index
                                   Page 3 of 4
Case 24-12445   Doc 24-3   Filed 12/19/24 Entered 12/19/24 16:30:11   Desc Index
                                   Page 4 of 4
